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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                  WICHITA DIVISION

  STATE OF KANSAS, ET AL.,                       §
                                                 §
          Plaintiffs,                            §
                                                 §
  v.                                             §
                                                 §
  JOSEPH R. BIDEN IN HIS OFFICIAL                §
  CAPACITY AS PRESIDENT OF THE                   § Civil Action No. 6:24-cv-01057-DDC-
  UNITED STATES,                                 § ADM
  ET AL.,                                        §
                                                 §
          Defendants.


                         MOTION TO CONSOLIDATE HEARINGS

       The Court has scheduled a hearing on Defendants’ motion to dismiss on Friday, May 31,

2024, and a hearing on Plaintiffs’ Motion for Preliminary Injunction on Tuesday, June 11, 2024.

Many of the issues that will be addressed at these hearings overlap, and Plaintiffs do not

anticipate a consolidated hearing would take more than one day. So, in the interest of time and

judicial economy, Plaintiffs respectfully request the Court consolidate the hearings and hear

argument on both motions on Friday, May 31. Defendants take no position on this motion.

                                             Respectfully submitted,

                                             /s/ Abhishek S. Kambli
                                             Abhishek S. Kambli, Kan. SC No. 29788
                                                  Deputy Attorney General
                                             Erin B. Gaide, Kan. SC No. 29691
                                                  Assistant Attorney General
                                             Topeka, Kansas 66612-1597
                                             Phone: (785) 296-7109
                                             Email: abhishek.kambli@ag.ks.gov
                                             erin.gaide@ag.ks.gov

                                             Drew C. Ensign, pro hac vice
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                                             Holtzman Vogel Baran Torchinsky
                                             & Josefiak PLLC
                                             2575 E. Camelback Road, #860
                                             Phoenix, Arizona 85016
                                             Phone: (602) 388-1262
                                             Email: densign@holtzmanvogel.com



                                             Counsel for Plaintiff State of Kansas



                                CERTIFICATE OF SERVICE

       This is to certify that on this the 23rd day of May, 2024, this motion was electronically

filed with the Clerk of the Court by using the CM/ECF system.

                                                            /s/ Abhishek S. Kambli
                                                            Abhishek S. Kambli




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